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     Attorneys for Plaintiffs
10   CITY OF HUNTINGTON BEACH, a California Charter City, and
11   Municipal Corporation, HUNTINGTON BEACH CITY COUNCIL,
     HUNTINGTON BEACH POLICE DEPARTMENT, and the
12   HUNTINGTON BEACH POLICE CHIEF
13
14                  UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA
15
16   CITY OF HUNTINGTON            CASE NO. 8:25-cv-00026-SSS-PD
17   BEACH, a California Charter   NOTICE OF LODGING FIRST
                                   AMENDED COMPLAINT FOR
     City, HUNTINGTON BEACH
18                                 DECLARATORY AND INJUNCTIVE
     CITY COUNCIL, HUNTINGTON RELIEF
19   BEACH POLICE DEPARTMENT,
20   and the HUNTINGTON BEACH
     POLICE CHIEF, in his official
21
     capacity as Chief of Police,
22
23              Plaintiffs,
24                 v.
25
26   The STATE OF CALIFORNIA,
     GAVIN NEWSOM, in his official
27
     capacity as Governor of the State
28   of California; ROBERT BONTA in


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Case 8:25-cv-00026-SSS-PD   Document 16 Filed 03/05/25   Page 2 of 2 Page ID
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 1   his official capacity as Attorney
 2   General of the State of California;
     and
 3   DOES 1-50, inclusive,
 4
 5              Defendants.

 6
 7        Pursuant to Fed. R. Civ. P. 15(a)(1) and also pursuant to this
 8   Court’s Civil Standing Order, the Plaintiffs hereby provide notice of their
 9   lodging of their First Amended Complaint as a matter of course, which
10   the Plaintiffs have filed. The First Amended Complaint is also attached
11   hereto as Exhibit 1. Attached as Exhibit 2 is a redlined version of the
12   complaint that shows all additions and deletions of material.
13
14   DATED: March 5, 2025              MICHAEL J. Vigliotta, City Attorney
15
16                          By:   /s/ Michael J. Vigliotta (with permission)
17                                     Michael J. Vigliotta
                                       City Attorney
18
                                       City of Huntington Beach
19
20                          By:   /s/ James Rogers
                                        James K. Rogers
21
                                        Senior Counsel
22                                      America First Legal Foundation
23
                                       Attorneys for Plaintiffs
24
                                       CITY OF HUNTINGTON BEACH,
25                                     HUNTINGTON BEACH CITY
26                                     COUNCIL, HUNTINGTON BEACH
                                       POLICE DEPARTMENT, and the
27                                     HUNTINGTON BEACH POLICE
28                                     CHIEF


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